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                            **NOT FOR PRINTED PUBLICATION**



                         IN THE UNITED STATES DISTRICT COURT

                           FOR THE EASTERN DISTRICT OF TEXAS

                                         LUFKIN DIVISION


LAVERN HARDIN                                     §

VS.                                               §      CIVIL ACTION NO. 9:19-CV-208

TEXAS DEP’T OF CRIMINAL JUSTICE,                  §
ET AL.

                          ORDER ACCEPTING THE MAGISTRATE
                        JUDGE’S REPORT AND RECOMMENDATION

       Plaintiff Lavern Hardin, a prisoner confined at the Eastham Unit of the Texas Department of

Criminal Justice, Correctional Institutions Division, proceeding pro se, filed this civil rights action

pursuant to 42 U.S.C. § 1983.

       The Court referred this matter to the Honorable Keith F. Giblin, United States Magistrate Judge,

at Beaumont, Texas, for consideration pursuant to applicable laws and orders of this Court. The

Magistrate Judge has submitted a Report and Recommendation of United States Magistrate Judge.

The Magistrate Judge recommends dismissing this civil rights action without prejudice pursuant to

Federal Rule of Civil Procedure 41(b).

       The Court has received and considered the Report and Recommendation of United States

Magistrate Judge filed pursuant to such order, along with the record and the pleadings. No objections

to the Report and Recommendation of United States Magistrate Judge were filed by the parties.
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                                              ORDER

       The findings of fact and conclusions of law of the Magistrate Judge are correct, and the report

of the Magistrate Judge (docket entry #11) is ACCEPTED. A final judgment will be entered in this

case in accordance with the Magistrate Judge’s recommendation.

              So ORDERED and SIGNED, Mar 28, 2021.


                                                                  ____________________
                                                                  Ron Clark
                                                                  Senior Judge




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